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 Counsel for UBS Securities LLC and UBS
 AG London Branch

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

In re                                        §
                                             §
                                   1                                       Chapter 11
HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
                                                                   Case No. 19-34054-sgj11
          Debtor.                            §
                                             §
UBS SECURITIES LLC and UBS AG LONDON BRANCH, §
                                             §
          Plaintiffs,                        §
                                             §
                                                                     Adversary Proceeding
v.                                           §
                                             §
                                                                         No. 21-03020
HIGHLAND CAPITAL MANAGEMENT, L.P.,           §
                                             §
          Defendant.                         §
                                             §

   APPENDIX OF EXHIBITS TO UBS’S OPPOSITION TO FOREIGN NON-PARTY
     SENTINEL REINSURANCE, LTD.’S MOTION FOR PROTECTIVE ORDER

   1
       The last four digits of the Debtor’s taxpayer identification number are 6725. The
Debtor’s headquarters and service address is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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        UBS Securities LLC and UBS AG London Branch (together “UBS”), by and through their

undersigned counsel, submit this Appendix of exhibits (the “Appendix”) to UBS’s Opposition to

Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for Protective Order, filed concurrently

herewith. The following exhibits are attached to this Appendix:

 Ex. No.                             Description                                App. No.

    A       Declaration of Sarah Tomkowiak in Support of UBS’s                 UBSPO001
            Opposition to Foreign Non-Party Sentinel Reinsurance, Ltd.’s
            Motion for Protective Order, and Exhibits 1 to 10 thereto

    1       Email from Jason Burt to Christopher Weldon, counsel for           UBSPO005
            Beecher Carlson Insurance Services LLC (“Beecher”), dated
            September 2, 2021

    2       UBS’s June 29, 2021 Subpoena for the Production of                 UBSPO007
            Documents on Beecher, dated August 24, 2021

    3       Letter from counsel for Brown & Brown, Inc. (“B&B”), dated         UBSPO019
            June 30, 2021

    4       Letter from counsel for B&B, dated July 31, 2021                   UBSPO021


    5       Emails dated August 20, 2021 between counsel for UBS and           UBSPO023
            counsel for Sentinel Reinsurance, Ltd. (“Sentinel”)

    6       Letter from counsel for Sentinel to counsel for UBS, dated         UBSPO026
            August 4, 2021

    7       Email from Christopher Weldon to Andrew Clubok, et al.,            UBSPO030
            dated August 20, 2021

    8       Email from Beecher’s counsel to UBS’s counsel, dated August        UBSPO032
            20, 2021

    9       Email chain between Sentinel’s counsel and UBS’s counsel,          UBSPO035
            dated September 8, 2021




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Ex. No.                           Description                               App. No.

  10      Email from Sentinel’s counsel to UBS’s counsel, dated             UBSPO041
          September 1, 2021




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Dated: September 10, 2021                  Respectfully submitted,

                                           /s/ Sarah Tomkowiak

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                               CERTIFICATE OF SERVICE

 I, Andrew Clubok, certify that Appendix of Exhibits to UBS's Opposition to Foreign Non-

      Party Sentinel Reinsurance, Ltd.'s Motion for Protective Order was filed electronically

through the Court’s ECF system, which provides notice to all parties of interest. And a copy

of this Opposition will be provided to counsel for Beecher by email

       Dated: September 10, 2021

                                                   /s/Andrew Clubok
                                                   Andrew Clubok




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